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                    UNITED STATES BANKRUPTCY COURT
                      DISTRICT OF SOUTH CAROLINA


IN RE:                                                       C/A No. 19-01057-dd
Jane Elizabeth Murphy and Dennis John                             Chapter 7
Murphy




                                                   ORDER GRANTING RELIEF FROM
                                    Debtor(s).          AUTOMATIC STAY



This matter is before the Court on motion (dkt. #23) of Specialized Loan Servicing LLC
("Movant") seeking relief from the automatic stay. The Movant has waived claims arising under
11 U.S.C. §§ 503(b), 507(b) and agreed that any funds realized from the disposition of its
collateral in excess of all liens, costs, and expenses will be paid to the trustee or bankruptcy
estate. Based upon the certification of Movant the motion is granted and it is

ORDERED that the automatic stay is lifted as to: Real Estate located at 261 Main Street,
Newington, Connecticut, 06111 (the "collateral"). Movant may send any required notice to
Debtor(s) and proceed with its remedies against the collateral.

AND IT IS SO ORDERED

 FILED BY THE COURT
     05/03/2019




                                                   David R. Duncan
                                                   Chief US Bankruptcy Judge
                                                   District of South Carolina


   Entered: 05/06/2019
